

Castillo v West End Towers LLC (2022 NY Slip Op 06080)





Castillo v West End Towers LLC


2022 NY Slip Op 06080


Decided on November 01, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 01, 2022

Before: Gische, J.P., Gesmer, Oing, Kennedy, Scarpulla, JJ. 


Index No. 300140/15 Appeal No. 16578 Case No. 2021-00416 

[*1]Hector Castillo, Plaintiff-Appellant,
vWest End Towers LLC et al., Defendants-Respondents.
West End Towers LLC et al., Third-Party Plaintiffs-Respondents,
v39 WEA Food Group, Inc., Third-Party Defendant.


Gorayeb &amp; Associates, P.C., New York (John M. Shaw of counsel), for appellant.
Mauro Lilling Naparty LLP, Woodbury (Anthony F. DeStefano of counsel), for respondents.



Order, Supreme Court, Bronx County (Donald A. Miles, J.), entered on or about December 8, 2020, which, to the extent appealed from as limited by the briefs, denied plaintiff's motion for partial summary judgment on the issue of liability on his Labor Law § 240(1) claim and granted defendants' motion for summary judgment dismissing the Labor Law §§ 240(1) and 202 claims, unanimously affirmed, without costs.
Plaintiff, who sustained injuries when he fell off a ladder while cleaning windows inside a commercial space, was not engaged in "cleaning" within the meaning of Labor Law § 240 (1), but rather, routine maintenance (see Soto v J. Crew Inc., 21 NY3d 562, 568-569 [2013]). The Labor Law § 202 claim was correctly dismissed in the absence of citations to any applicable Industrial Code provisions that had been violated (see Bauer v Female Academy of Sacred Heart, 97 NY2d 445, 452-453 [2002]; Wowk v Broadway 280 Park Fee, LLC, 94 AD3d 669, 670 [1st Dept 2012]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 1, 2022








